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 4
                                UNITED STATES DISTRICT COURT
 5
                               WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 6

 7        MICHAEL S. WAMPOLD, et al.,

 8                                   Plaintiffs,

                  v.                                          C19-169 TSZ
 9

          SAFECO INSURANCE COMPANY                            MINUTE ORDER
10
          OF AMERICA,
11
                                     Defendant.
12
        The following Minute Order is made by direction of the Court, the Honorable
13 Thomas S. Zilly, United States District Judge:

14        (1)    The United States Court of Appeals for the Ninth Circuit having affirmed
   this Court’s order granting partial summary judgment in favor of Defendant, see docket
15 nos. 27, 34, and 42, and the mandate having been issued, see docket no. 44, the Court
   hereby LIFTS the stay of this matter that was imposed by the Order entered on
16 November 15, 2019, docket no. 34.

17           (2)    The parties are DIRECTED to meet and confer and to submit a combined
     joint status report and discovery plan on or before noon on Friday, November 20, 2020.
18
            (3)        The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
19
            Dated this 20th day of October, 2020.
20

21                                                        William M. McCool
                                                          Clerk
22
                                                          s/Gail Glass
23                                                        Deputy Clerk
     MINUTE ORDER - 1
